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Case 2:O4-cr-20256-.]P|\/| Document 166 Filed 07/25/05 Page 1 of 2 Page|D 229

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UNITED STATES OF AMER!CA
v. N0.2:04-cr-20256-02

STEVEN BIRCI'I

 

 

 

ORDER GRANTING MOTION TO CONTlNUE

 

 

 

'I`his cause came on to he heard upon the Motion to Continue filed by Counsel for

Defendant, Leslie I. Ballin. lt appearing to the Coun that the Motion is well taken and should be

granted
lT IS THEREFORE, ORDERED, ADJUDGED AND DECREED, by this Court that the

+L.
Sentencing Hearing currently scheduled for August 18, 2005'1s hereby continued to the o2<5

day 13qu Cl§'j_ . 2005 at 3 -00 o’clock (a.rn/@ Timc shall

be excluded under the Spccdy Tn'al Act. GEQQ`
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DATE

Th' 5 document entered on the docket sheet ln vompt tahoe

With Hule g.; ”~:im'/or32(b) FHCrP clth /éé’

   

UNITED `SATES DISTRICT COUR - WTERN D's'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 166 in
case 2:04-CR-20256 Was distributed by faX, mail, or direct printing on
July 26, 2005 to the parties listed.

 

 

Leslie I. Ballin

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Carroll L. Andre

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167 N. Main St.

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Honorable J on McCalla
US DISTRICT COURT

